
PER CURIAM.
Affirmed. See McDonald v. State, 133 So. 3d 530 (Fla. 2d DCA 2013) ; Epps v. State, 100 So. 3d 689 (Fla. 2d DCA 2012) (table decision); Epps v. State, 75 So. 3d 1254 (Fla. 2d DCA 2011) (table decision); Doby v. State, 25 So. 3d 598 (Fla. 2d DCA 2009) ; Hughes v. State, 22 So. 3d 132 (Fla. 2d DCA 2009) ; Epps v. State, 976 So. 2d 1104 (Fla. 2d DCA 2008) (table decision); Valdez-Garcia v. State, 965 So. 2d 318 (Fla. 2d DCA 2007) ; Brown v. State, 827 So. 2d 1054 (Fla. 2d DCA 2002) ; Pleas v. State, 41 So. 3d 980 (Fla. 1st DCA 2010) ; Lykins v. State, 894 So. 2d 302 (Fla. 3d DCA 2005) ; Harris v. State, 789 So. 2d 1114 (Fla. 1st DCA 2001) ; Thomas v. State, 778 So. 2d 429 (Fla. 5th DCA 2001) ; Bloodworth v. State, 504 So. 2d 495 (Fla. 1st DCA 1987).
KELLY, MORRIS, and SLEET, JJ., Concur.
